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                                                      Exhibit 28
                       Designations of Deposition Testimony of Chris Turner (January 14, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
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       18:11                  18:20
       23:12                  23:25
       24:4                    24:7
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       52:16                  53:25
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       69:17                   70:4
       73:14                   74:1
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